                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION
                                 No.5:06-CV-114-D

JAMES M. GALLAGHER, as Trustee               )
for and on behalf of National Packaging      )
Solutions Group Trust, et al.,               )
                                             )
                              Plaintiffs,    )
                                             )
                  v.                         )                ORDER
                                             )
SOUTHERN SOURCE PACKAGING,                   )
LLC,                                         )
                                             )
                              Defendant.     )

       On July 18,2007, Magistrate Judge Webb issued a Memorandum and Recommendation

("M&R") recommending that the court deny defendant Southern Source Packaging, LLC's

("Southern Source") motion for summary judgment in this breach of contract action. The contract

displlte concerns a deferred payment of $1.5 million in an asset purchase agreement. Plaintiffs

James M. Gallagher ("Gallagher") and National Packaging Solutions Group ("NPSG") (collectively,

"plaintiffs") claim that Southern Source owes the money, and Southern Source denies this claim.

Southern Source timely objected to the M&R, and plaintiffs responded. In addition, plaintiffs moved

for summary judgment, and Southern Source responded. On March 5,2008, the court heard oral

argument.

       As discussed below, the court overrules Southern Source's objection, adopts the M&R, and

denies Southern Source's motion for summary judgment. The court also denies plaintiffs' motion

for summary judgment without prejudice. Nevertheless, because the court has serious doubts about

Southern Source's alleged entitlement to avoid paying the $1.5 million to Gallagher and because

those dOllbts revolve around Southern Source's alleged expert witness on damages, the court will




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permit plaintiffs to file a motion to exclude Southern Source's expert report and testimony on

damages and then to renew plaintiffs' motion for summary judgment.

                                                 I.

       NPSG and SOllthern Source are packaging companies. See Am. Compi. ~~ 8,30-33. On

September 24, 2004, NPSG and Southern Source entered into a contract (the "Sale Agreement")

wherein Southern Source agreed to purchase nearly all of NPSG's assets. For purposes of the

present dispute, the Sale Agreement contained three important provisions. First, it contained a

choice of law provision selecting Indiana law. See Def.' s Mem. in Supp. of Def.' s Mot. for Summ.

J. Ex. A [D.E. 25-2], art. 18, ~ I, p. 22. Second, it contained a deferred payment provision wherein

Southern Source would pay NPSG $1.5 million on September 30,2005. Id. at art. 3, ~ B, p. 3. 1

Finally, it contained the following anti-assignment clause:

       [N]either party shall assign this Agreement or any rights under this Agreement to any
       person without the prior written consent ofthe other, which consent may be withheld
       by either party hereto in its respective sole discretion, except that Buyer may assign
       all rights and obligations under this Agreement to a limit [sic] partnership or limited
       liability company in which Buyer is a general partner or member. Any other
       attempted or purported assignment or transfer of this Agreement by a party without
       such consent of the other party shall be null and void.

Id. at art. 18, ~ D, p. 21 [hereinafter "Anti-Assignment Clause"].

       In December 2004, NPSG and its secured creditors created a trust for the benefit ofNPSG's

remaining secured creditors. See Am. Compi. ~~ 14-15. The sole purpose of the trust was to

liquidate NPSG's assets. Id. ~ 1. NPSG assigned its right to receive the $1.5 million deferred

payment from SOllthern Source to the trust. Id. ~ 14. Gallagher heads the trust. See ide ~~ 16-17.


       1 In relevant part, the deferred payment provision reads as follows: "Buyer shall pay One
Million Five Hundred Thousand Dollars ($1,500,000.00) to the Sellers on the date that is twelve (12)
months following the Closing Date, which amount shall be reduced dollar for dollar by ... any
Losses as defined in [Article] 13 [ofthe Sale Agreement] ...." Def. 's Mem. in Supp. ofDef. 's Mot.
for Summ. J. Ex. A [D.E. 25-2], art. 3, ~ B, p. 3.

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Thereafter, Southern Source claimed that NPSG had misled it and refused to pay the $1.5 million.

       On March 10, 2006, Gallagher filed a breach of contract action to recover the $1.5 million.

Southern Source responded, inter alia, that it need not pay Gallagher because the assignment to him

was null and void under the Anti-Assignment Clause. See M&R 4 ("Defendant argues that Plaintiff

Gallagher lacks standing to be named as a Plaintiff in this matter because Defendant did not provide

consent to the assignment of the Sale Agreement to the Trust."). Southern Source also argued that

because NPSG had made misrepresentations at the time of the sale concerning certain price

increases that caused Southern Source to enter into the Sale Agreement and thereafter to incur losses,

Southern Source was relieved of its obligation to pay the $1.5 million. See Am. CompI. ~~ 20-22;

Def. 's Mem. in Supp. ofDef. 's Mot. for Summ. J. Ex. A [D.E. 25-2], art. 3, ~ B, p. 3 (providing that

the $1.5 million payment "shall be reduced dollar for dollar" if Southern Source suffers certain

enumerated losses).

       On March 30, 2007, Southern Source moved for summaryjudgment and argued that the Anti­

Assignment Clause barred Gallagher's claim. On June 8, 2007, the court referred defendant's

motion for summary judgment to Judge Webb. See 28 U.S.C. § 636(b)(1).

       On June 13, 2007, the court entered an order permitting Gallagher to amend his complaint

to add NPSG as a plaintiff. On June 26, 2007, Gallagher filed an amended complaint, and NPSG

was added as a plaintiff.

       On July 18,2007, Judge Webb issued an M&R concerning Southern Source's motion for

summary judgment. Judge Webb concluded that NPSG's transfer was not void under the Anti­

Assignment Clause because of Restatement (Second) of Contracts § 322 (1981). That section

provides in relevant part: "A contract term prohibiting an assignment of rights under the contract,

unless a different intention is manifested, ... does not forbid assignment of a right to damages for


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breach of the whole contract or a right arising out of the assignor's due performance of his entire

obligation ...." Restatement (Second) ofContracts § 322(a)(2) (1981). Judge Webb concluded that

NPSG's assignment to Gallagher ofNPSG's right to receive the $1.5 million payment was either the

assignment of "a right to damages" or the assignment of a right arising out of NPSG's "due

performance of [the] entire obligation," and that the "null and void" provision in the final sentence

of the Anti-Assignment Clause did not apply. See M&R 6 ("[T]here is no language in the Sale

Agreement specifically forbidding assignment of a right arising out of due performance, or of the

right to collect damages for breach."). Further, Judge Webb concluded that Southern Source could

not avail itself of section 322(a)(2)'s language distinguishing times when "a different intention is

manifested" because the Anti-Assignment Clause's "null and void" provision refers only to an

assignment or transfer of"this Agreement." See ide Thus, Judge Webb recommended that the court

deny Southern Source's motion for summary judgment.

                                                   II.

        "The Federal Magistrates Act requires a district court to 'make a de novo determination of

those portions ofthe [magistrate judge's] report or specified proposed findings or recommendations

to which objection is made. '" Diamond v. Colonial Life & Acc. Ins. Co., 416 F.3d 310, 315 (4th

Cir. 2005) (quoting 28 U.S.C. § 636(b)(1)) (emphasis removed). For those portions ofthe magistrate

judge's report where no objection applies, "a district court need not conduct a de novo review, but

instead must only satisfy itself that there is no clear error on the face of the record in order to accept

the recommendation." Id. (quotation omitted). The district court may "accept, reject, or modify, in

whole or in part, the findings or recommendations made by the magistrate judge." 28 U.S.C. §

636(b)(1).

        The parties agree that Restatement (Second) ofContracts § 322 applies to their dispute about


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the Anti-Assignment Clause, but disagree on how it applies. The court's research reveals no Indiana

cases addressing Restatement (Second) ofContracts § 322. Nevertheless, Traicoffv. Digital Media,

Inc., 439 F. Supp. 2d 872 (S.D. Ind. 2006), provides guidance. In Traicoff, the court could not locate

any Indiana cases reflecting how Indiana would treat an anti-assignment clause prohibiting the

assignment of "the contract."    Id. at 879. In resolving the issue and predicting how the Indiana

Supreme Court would resolve the issue, the court examined Restaten1ent (Second) of Contracts §

322, the leading commentators, and Indiana's version of the Uniform Commercial Code ("UCC").

See ide at 879-80.

       Because there are no Indiana cases on point, this court looks to the sources cited in Traicoff.

First, the commentary to Restatement (Second) of Contracts § 322 notes that the two purposes of

anti-assignment clauses are (1) to ensure that the counterparty receives personal performance from

the would-be assignor where material, and (2) to protect the counterparty from the danger of double

liability to both the would-be assignor and would-be assignee. See Restatement (Second) of

Contracts § 322 cmt. a, b (1981). Second, Professor Corbin notes that anti-assignment clauses "must

be clear and plain and should be strictly construed contra proferentem." 9 Arthur Linton Corbin et

aI., Corbin on Contracts § 873 (interin1 ed., rev. vol. 2002); see also Traicoff, 439 F. Supp. 2d at

879-80 (analyzing various contract law treatises, which advocate the same principle). Finally,

Indiana's UCC provides that "[a] right to damages for breach of the whole contract or a right arising

out of the assignor's due performance of his entire obligation can be assigned despite agreen1ent

otherwise." Ind. Code § 26-1-2-210(2).2



        2 Because the Sale Agreement does not involve a sale of goods, this UCC provision is not
dispositive. Cf.,~, Whitaker V. T.l. Snow Co., 151 F.3d 661,665 (7th Cir. 1998) (using Indiana
uniform commercial code for guidance and noting that "[a]rticle 2 of the VCC applies only to sales
of goods").

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        Indiana courts would strictly construe the Anti-Assignment Clause to ensure that it serves

only to protect the non-assigning party from losing material personal performance and from the

danger of double liability. Here, as Judge Webb noted, the "null and void" provision of the Anti­

Assignment Clause does not address whether the right to damages upon breach or the right to

payment arising out of NPSG's due performance may be assigned. Cf. M&R 6 ("Although the

provision n1entions 'this Agreement' ... , there is no language in the Sale Agreement specifically

forbidding assignn1ent of a right arising out of due performance or of the right to collect damages

for breach."). Moreover, the policy rationales underlying anti-assignment clauses are not implicated.

NPSG's personal performance is immaterial, and the recipient of the $1.5 million is fungible.

Relatedly, there is no risk of double liability because NPSG has stated that payment is due only to

Gallagher.

       The Anti-Assignment Clause and Restatement (Second) of Contracts § 322 appear to doom

Southern Source's argument that NPSG's transfer was void. Accordingly, Southern Source argues

that the dan1ages / due performance exceptions to anti-assignment clauses apply only when the rights

being assigned have already vested because the contract is no longer executory. See Def.' s Obj. 1.

Southern Source argues that the Sale Agreement was still executory because a second agreement

called the Transitional Services Agreement ("TS Agreement") was still executory. See id. at 4-5.

In making this argument, Southern Source contends that Indiana law treats contemporaneous

agreements as one in the same, and argues that the TS Agreement is contemporaneous with the Sale

Agreement and thereby still executory. Id. at 5-6. Thus, Southern Source contends that the damages

/ due performance exceptions do not apply because the right to payment which they represent had

not vested. See id.




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       Plaintiffs respond that Indiana law does not contain any vesting requirement for the damages

/ due performance exceptions. See PIs.' Resp. to Def.' s Obj. 4-6. Plaintiffs also contend that the

TS Agreement is not contemporaneous with the Sale Agreement, because it was dated two weeks

after the Sale Agreement. Id. at 3-4.

       The court rejects Southern Source's attempt to construe the Restatement anti-assignn1ent

clause exceptions to include a vesting requirement. Under Indiana law, it is the Al1ti-Assignn1ent

Clause itself that must be strictly construed. Nothing in Indiana law supports reading a vesting

requirement into the Restatement exceptions. Moreover, as explained earlier, the court agrees with

Judge Webb that NPSG's transfer was not void under the Anti-Assignment Clause. Accordingly,

Southern Source's motion for summary judgment is denied. 3

                                                 III.

       On July 30, 2007, plaintiffs filed a motion for summary judgment. Plaintiffs argue: (1)

Southern Source was required to pay $1.5 million; (2) Southern Source did not pay; and (3) Southern

Source has no justification for failing to pay. See PIs.' Mem. in Supp. of PIs.' Mot. for Summ. J.

9-12. Southern Source does not dispute that it did not pay, but argues that it was not required to pay

the $1.5 million for various reasons. See Def.'s Am. Mem. in Opp'n to PIs.' Mot. for Summ. J.

9-21. Specifically, Southern Source contends that it need not pay the deferred $1.5 million, because

Gallagher lacks standing due to the Anti-Assignment Clause. Id. at 10-12. Because the court has

rejected this argument, the court will not address it further. Alternatively, Southern Source argues

that it need not pay, because even if the assignment to Gallagher is not void, the assignment is

nonetheless a material breach of the Sale Agreement. See ide at 12. Southern Source then argues



       3 In light of this conclusion, the COlIrt need not resolve the parties' argument about whether

the TS Agreement is contemporaneous with the Sale Agreement.

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that under Indiana's doctrine of first material breach, NPSG's breach was material and relieved

Southern Source of any obligation to pay the $1.5 million. See ide at 12-14. Finally, Southern

Source argues that it need not pay because NPSG made n1isrepresentations at the time of the sale

concerning certain price increases that caused Southern Source to incur losses that offset the deferred

payment on a "dollar for dollar" basis, thereby relieving Southern Source of its obligation to pay the

$1.5 million. See ide at 16-17.

                                                  A.

       The parties dispute who breached first and whether any breach was material. Plaintiffs argue

that Southern Source breached when it failed to pay the $1.5 million when due. Southern Source

responds that NPSG materially breached when it first assigned its right to receive the $1.5 million

to Gallagher.

       Under Indiana law, the elements of a breach of a contract claim are (1) a contract, (2) the

other party's breach, and (3) dan1ages. See,~, Rogier v. Am. Testing & Eng'g Corp., 734 N.E.2d

606,614 (Ind. Ct. App. 2000). Under the Indial1a doctrine of first material breach, "[a] party first

guilty of a n1aterial breach of contract n1ay not maintain an action against the other party or seek to

enforce the contract against the other party should that party subsequently breach the contract."

Licocci v. Cardinal Assocs., Inc., 492 N.E.2d 48, 52 (Ind. Ct. App. 1986). Where the doctrine of

first material breach applies, the non-breaching party is relieved of any further contractual

obligations. See Dreibelbiss Title Co., Inc. v. MorEquity, Inc., 861 N.E.2d 1218, 1220-21 (Ind. Ct.

App. 2007) (lender was not required to give notice of foreclosure action to title insurer as required

by contract because title insurer committed first material breach); Sallee v. Mason, 714 N.E.2d 757,

761-63 (Ind. Ct. App. 1999) (employer could not enforce covenant not to compete because employer

committed first material breach by making accountant work hours beyond those specified in

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contract); Licocci, 492 N.E.2d at 52-54 (employer could not enforce covenants not to compete

because employer committed first material breach by failing to pay commissions when due); cf.

Frazier v. Mellowitz, 804 N .E.2d 796, 803 (Ind. Ct. App. 2004) (noting that the breach must not only

be material, but also must be incurable before the non-breaching party will be discharged from all

contractual obligations). Therefore, summary judgment should be denied to plaintiffs if there is a

genuine issue of material fact about whether the doctrine of first material breach applies.

       For purposes of evaluating Southern Source's first material breach argument, the court will

assume, without deciding, that plaintiffs breached the Sale Agreement when NPSG assigned the

payment right to Gallagher. The question then becomes whether this alleged breach was material.

Indiana courts look to the Restatement (Second) of Contracts to determine whether a breach is

material. See Frazier, 804 N.E.2d at 802-04 (tracing Indiana materiality decisions in light of the

two Restatements, and using the Restatement (Second) as the legal framework to determine

materiality of breach). Restatement (Second) of Contracts § 241 (1981) states that materiality

depends on the circumstances, and that five factors are significant: (1) the extent to which the

injured party will be deprived of its reasonably-expected benefit; (2) the extent to which the injured

party can be compensated for that deprivation; (3) the extent to which the nonperforming party will

suffer a forfeiture; (4) the likelihood that the nonperforming party will cure; and (5) whether the

nonperforming party acted in good faith.

       Although materiality under Indiana law is sometinles ajury question,4 no rational jury could

conclude that NPSG' s assignment ofthe payment right to Gallagher was a material breach. Southern



        4 See Innovative Piledriving Prods., LLC v. Unisto Oy, No.1 :04-CV-453-TS, 2006 WL
1843498, at *5-*6 (N.D. Ind. June 30,2006) (unpublished) (denying summary judgment where first
material breach doctrine was materially disputed); Columbus Reg' I Hosp. v. Patriot Med. Tech., Inc.,
No. IP 01-1404-C KlH, 2004 WL 392938, at *2-*3 (S.D. Ind. Feb. 11,2004) (unplLblished) (same).

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Source argues that the breach was material because Southern Source needed to deal with the same

NPSG officials who were involved in negotiating the Sale Agreement, and no one else. See Def. 's

Am. Mem. in Opp'n to PIs.' Mot. for Summ. J. 15; Thomas Bennett Aff. ~~ 6-7 [D.E. 25-5] (noting

that Southern Source wanted to work through any problems with someone who had intimate

knowledge of the transaction, and that "negotiations with Mr. Gallagher were not productive"

because he was not an original party and therefore lacked knowledge of the negotiations). In

response, plaintiffs cite evidence that NPSG, the original seller, is merely a shell company with no

remaining employees, and it thus would have been impossible for Southern Source to work with the

NPSG personnel who negotiated the Sale Agreement instead of Gallagher. See PIs.' Reply in Supp.

of PIs. , Mot. for Summ. J. 9 n.5; Dec!. of Kevin J. Lavin ~ 7 [D.E. 27] ("The NPSG personnel who

negotiated the Agreement are no longer employees ofNPSG.").

       At oral argument, Southern Source admitted that nowhere in either the Sale Agreement or

the TS Agreement is there any language suggesting that Southern SOllrce had a right to continue

working with the same NPSG personnel involved in negotiating the Sale Agreement. Indeed, as

plaintiffs contended at oral argument, Southern Source could have negotiated for an "essential

personnel clause" in either the Sale Agreement or the TS Agreement, but it did not do so. Fllrther,

as plaintiffs noted at oral argument, even if Southern Source had a unilateral, unstated expectation

that it could work out any issues with the same NPSG personnel involved in negotiating the Sale

Agreement, that expectation was unreasonable. Everyone involved in the transaction knew that

NPSG was going out of business. No rational jury could find that Southern Source had a reasonable

expectation of being able to work with the san1e NPSG personnel who negotiated the Sale

Agreement. As for the other four factors described in Restatement (Second) ofContracts § 241, they

also do not support Southern Source's position. There is no genuine issue of material fact as to


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whether the doctrine of first material breach applies, and Southern Source may not avert plaintiffs'

motion for summary judgment on this basis.

                                                  B.

        Southern Source next argues that plaintiffs' motion for summary judgment should be denied

because there is a genuine dispute of material fact about whether NPSG personnel misrepresented

the status of various price increases imposed on NPSG customers during the due diligence for the

Sale Agreement. Plaintiffs respond that there were no misrepresentations. The crux of this dispute

revolves around whether Southern Source is entitled to a "dollar for dollar" reduction of the $1.5

million payment for "Losses as defined in [Article] 13" of the Sale Agreement. See Def.' s Mem.

in Supp. ofDef.'s Mot. for Summ. J. Ex. A [D.E. 25-2], art. 3, ~ B, p. 3. Southern Source argues

that such "Losses" would include "Losses" arising out of NPSG's alleged misrepresentation of

certain financial information referenced in Article 8, paragraph K of the Sale Agreement. See id.

at art. 8, ~ K, p.10; id. at art. 13, ~ A, pp. 16-17. The alleged misrepresentations concern whether

NPSG sales personnel had gotten NPSG customers to agree to higher prices in 2004 to account for

increased production costs.

        At this time, the court need not consider this dispute about the alleged misrepresentation

because, even ifNPSG personnel did misrepresent the status ofthe price increases, Southern Source

must still justify its refusal to pay the deferred $1.5 million payment by proving its

misrepresentation-related losses on a "dollar for dollar" basis. Accordingly, to avoid sumnlary

judgment for plaintiffs, Southern Source must point to competent evidence in the record from which

a rational jury could find that Southern Source suffered misrepresentation-related losses that warrant

a dollar-for-dollar offset to the $1.5 million.

        At oral argument, Southern Source conceded that the only evidence in the record supporting

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its claim regarding the amount of its alleged misrepresentation-related losses is the testimony and

report of Charles Mueller ("Mueller").5 The parties dispute whether Southern Source offered

Mueller as an expert or a lay witness, whether Mueller's "supplementation" ofhis report was timely

under the court's scheduling order, and whether Mueller is competent to testify about Southern

Source's alleged misrepresentation-related losses.

          The court concludes that Southern Source purports to offer Mueller as an expert witness. At

oral argument, Southern Source contended that, perhaps, it should not have identified Mueller as an

expert witness, but rather submitted his report as a summary of voluminous writings LInder Federal

Rule ofEvidence 1006. The court rejects this argument. Southern Source admitted at oral argument

that it identified Mueller as an expert witness in its discovery responses and produced Mueller's

report under Federal Rule of Civil Procedure 26(a)(2). See also PIs.' Mem. in Supp. of PIs.' Mot.

for Summ. J. Ex. D [D.E. 44-5]; Def.'s Am. Mem. in Opp'n to PIs.' Mot. for Summ. J. Ex. J [D.E.

51-12].     Further, plaintiffs deposed Mueller as an expert, and Southern Source thereafter

supplemented Mueller's expert report. The court concludes that Southern Source offered Mueller

as an expert witness, not as a lay witness presenting a summary of voluminous information under

Federal Rule of Evidence 1006.

          Turning to Mueller's report and testimony, plaintiffs' memoranda extensively attack

Mueller's methodology and testimony. See PIs.' Mem. in Supp. of Pis. , Mot. for Summ. J. 12-22;

PIs.' Reply in Supp. of PIs. ' Mot. for Summ. J. 3-8. Plaintiffs, however, have not filed a motion to

exclude Mueller's report or testimony under Federal Rules of Civil Procedure 37 or 56(e), or LInder



        5At oral argument, Southern Source suggested that the affidavit of David Hunt also provides
evidence of damages. However, Hunt bases his affidavit testimony on the results of Mueller's
report. See David Hunt Aff. 2 [D.E. 51-10]. Hunt's affidavit testimony is therefore inseparable from
Mueller's report, and cannot provide competent evidence of damages without Mueller's report.

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Federal Rules of Evidence 401 or 702. Accordingly, out of an abundance of caution, the court will

deny plaintiffs' motion for summary judgment without prejudice. See,~, Cortes-Irizarry v.

Corporacion Insular de Seguros, 111 F.3d 184, 188-89 (1st Cir. 1997) (court should generally

receive briefing before excluding expert evidence as inadmissible). Nonetheless, the court has

serious doubts about whether the Mueller report and testimony provide competent evidence of

Southern Source's alleged misrepresentation-related losses. Indeed, the court notes that Mueller has

repeatedly testified that he expresses no opinion on lost revenue. See Charles Mueller Dep. [D.E.

45-2], at 101 :24-102:3 ("Q: I recognize you've told me before that the multiplier and lost revenue

columns are not your work and you're not expressing an opinion one way or the other on those.

Correct? A: That's correct."); ide at 57:7-57: 14 ("I don't know - I don't know what a right number

is. I just know that based on parameters that are given to me I'm to put things in a bucket."); ide at

6: 17-6: 19 ("I did not put in the multipliers or come up with lost revenue. I generated the sales

within each bucket."). Further, the court notes that, without the Mueller report and testimony, there

would be no competent evidence in the record from which a rational jury could conclude that

Southern Source suffered any losses sufficient to offset its obligation to pay the $1.5 million. Cf.

Ruffin v. Shaw Indus., Inc., 149 F.3d 294,303 (4th Cir. 1998) ("Defendants' motion to strike the

affidavit and testimony of [plaintiffs expert] will be granted         because [the expert's] opinion

testimony would not be admissible under [Fed. R. Evid.] 702          Without such evidence, plaintiffs

have failed to raise a genuine issue of fact on an essential element of ... their claims ...."); cf. also

Group Health Plan, Inc. v. Philip Morris USA, Inc., 344 F.3d 753, 757-61 (8th Cir. 2003) (affirming

exclusion of evidence from damages expert).

        In order to permit the parties to fully briefwhether to exclude Mueller's report and testimony,

the court will permit plaintiffs to move to exclude the Mueller report and testimony. See Fed. R.


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Civ. P. 37 & 56(e); Fed. R. Evid. 401 & 702; Ruffin, 149 F.3d at 296. Plaintiffs' motion also should

address (1) whether the "supplementation" of the Mueller report was timely, and (2) whether either

the original or the "supplemented" version of the Mueller report provides competent evidence of

Southern SOllrce's alleged misrepresentation-related losses. In plaintiffs' motion, plaintiffs also may

renew their motion for summary judgment.

                                                 IV.

       As explained above, defendant's objection to the M&R is overruled, the court adopts the

M&R, and defendant's motion for summary judgn1ent is DENIED. Additionally, plaintiffs' motion

for summary judgment is DENIED without prejudice. Plaintiffs shall have until April 1, 2008, to

submit amotion to exclude the Mueller report and testimony. As a part ofthat motion, plaintiffs also

may renew their motion for summary judgment. Defendant's response and plaintiffs' reply are due

in accordance with the Local Rules.

       SO ORDERED. This ~ day of March 2008.




                                                       JAM S C. DEVER III
                                                       United States District Judge




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